                  Case 14-10979-CSS                Doc 3390-2    Filed 01/28/15     Page 1 of 1




                                                      EXHIBIT A

                                Statement of Fees and Expenses By Subject Matter

                                                              Total Billed
                                     Description                Hours            Total Fees
                      Chapter 11                                    99.40    $     110,155.00
                      Governance                                    59.80    $      63,707.00
                      Plan and Disclosure                           56.80    $      62,044.00
                      Intercompany Claims                          141.00    $     104,580.00
                      Tax Issues                                    99.60    $      99,602.00
                      Oncor Sale Process                            35.20    $      36,089.00
                      Financing
                      Employment and Fee
                      Applications                                  36.40    $       41,860.00
                      Non-working Travel                             1.60    $         920.00
                      Claims Litigation                              2.90    $        2,865.00
                                        TOTAL                      532.70    $     521,822.00




01/28/2015   SL1 1347903v1
[[NYCORP:3511788v1:3170F:       109285.00001
                          01/28/2015--10:11 AM]]
                                                          4
